Case 4:20-cv-00509-CVE-JFJ Document 2 Filed in USDC ND/OK on 10/06/20 Page 1 of 35

AO 241 (Rev. 09/17)

                                     PETITION UNDER 28 U.S.C. § 2254 FOR WRIT OF
                                   HABEAS CORPUS BY A PERSON IN STATE CUSTODY

United States District Court                                               District: Northen District of Oklahoma

Name (under which you were convicted):                                                                        Docket or Case No.:
Adam Clayton Zilm                                                                                            20-cv-509-CVE-JFJ

Place of Confinement :                                                                     Prisoner No.:
Lawton Correctional Facility, Lawton, OK
                                                                                           751530

Petitioner (include the name under which you were convicted)               Respondent (authorized person having custody of petitioner)
                      Adam Clayton Zilm                                                      Scott Crow, Director
                                                                     v.



The Attorney General of the State of: Oklahoma



                                                                  PETITION



1.        (a) Name and location of court that entered the judgment of conviction you are challenging:

           District Court of Tulsa County, State of Oklahoma




          (b) Criminal docket or case number (if you know):               CF-2012-3037

2.        (a) Date of the judgment of conviction (if you know): 11/17/2016

          (b) Date of sentencing:         01/20/2017

3.        Length of sentence:        36 years

4.        In this case, were you convicted on more than one count or of more than one crime?                  ’    Yes        ✔
                                                                                                                              ’ No

5.        Identify all crimes of which you were convicted and sentenced in this case:
           Sexual Abuse--Child Under 12




6.        (a) What was your plea? (Check one)
                                     ✔
                                     ’ (1)           Not guilty            ’     (3)       Nolo contendere (no contest)

                                     ’ (2)           Guilty                ’     (4)       Insanity plea

                                                                                                                                    Page 2 of 16
Case 4:20-cv-00509-CVE-JFJ Document 2 Filed in USDC ND/OK on 10/06/20 Page 2 of 35

AO 241 (Rev. 09/17)

          (b) If you entered a guilty plea to one count or charge and a not guilty plea to another count or charge, what did

          you plead guilty to and what did you plead not guilty to? N/A




          (c) If you went to trial, what kind of trial did you have? (Check one)

                        ✔
                        ’ Jury      ’ Judge only

7.        Did you testify at a pretrial hearing, trial, or a post-trial hearing?

                        ’ Yes       ✔
                                    ’ No

8.        Did you appeal from the judgment of conviction?

                        ✔
                        ’ Yes       ’ No

9.        If you did appeal, answer the following:

          (a) Name of court:        Oklahoma Court of Criminal Appeals
          (b) Docket or case number (if you know):           F-2017-69
          (c) Result:               Affirmed
          (d) Date of result (if you know):      09/06/2018
          (e) Citation to the case (if you know):           Unpublished
          (f) Grounds raised:

           1. Denial of Due Process by State coercion of child victim to testify falsely.

           2. Prosecutorial misconduct.

           3. Erroneous evidentiary rulings.

           4. Denial of suppression of statement made to police.

           5. Ineffective assistance of counsel.

           6. Cumulative error.
          (g) Did you seek further review by a higher state court?            ’ Yes   ✔
                                                                                      ’ No

                      If yes, answer the following:

                      (1) Name of court:

                      (2) Docket or case number (if you know):

                      (3) Result:




                                                                                                                       Page 3 of 16
Case 4:20-cv-00509-CVE-JFJ Document 2 Filed in USDC ND/OK on 10/06/20 Page 3 of 35

AO 241 (Rev. 09/17)

                      (4) Date of result (if you know):

                      (5) Citation to the case (if you know):

                      (6) Grounds raised:




          (h) Did you file a petition for certiorari in the United States Supreme Court?           ✔ Yes
                                                                                                   ’              ’ No

                      If yes, answer the following:

                      (1) Docket or case number (if you know):         18-1043

                      (2) Result:       Certiorari Denied


                      (3) Date of result (if you know):         10/07/2019
                      (4) Citation to the case (if you know):          Unpublished Order
10.       Other than the direct appeals listed above, have you previously filed any other petitions, applications, or motions

          concerning this judgment of conviction in any state court?                ’ Yes          ✔ No
                                                                                                   ’

11.       If your answer to Question 10 was "Yes," give the following information:

          (a)         (1) Name of court:      N/A

                      (2) Docket or case number (if you know):

                      (3) Date of filing (if you know):

                      (4) Nature of the proceeding:

                      (5) Grounds raised:




                      (6) Did you receive a hearing where evidence was given on your petition, application, or motion?

                        ’ Yes        ✔ No
                                     ’

                      (7) Result:



                                                                                                                         Page 4 of 16
Case 4:20-cv-00509-CVE-JFJ Document 2 Filed in USDC ND/OK on 10/06/20 Page 4 of 35

AO 241 (Rev. 09/17)

                      (8) Date of result (if you know):

          (b) If you filed any second petition, application, or motion, give the same information:

                      (1) Name of court:      N/A
                      (2) Docket or case number (if you know):

                      (3) Date of filing (if you know):

                      (4) Nature of the proceeding:

                      (5) Grounds raised:




                      (6) Did you receive a hearing where evidence was given on your petition, application, or motion?

                        ’ Yes        ’ No

                      (7) Result:

                      (8) Date of result (if you know):

          (c) If you filed any third petition, application, or motion, give the same information:

                      (1) Name of court:      N/A

                      (2) Docket or case number (if you know):

                      (3) Date of filing (if you know):

                      (4) Nature of the proceeding:

                      (5) Grounds raised:




                                                                                                                         Page 5 of 16
Case 4:20-cv-00509-CVE-JFJ Document 2 Filed in USDC ND/OK on 10/06/20 Page 5 of 35

AO 241 (Rev. 09/17)

                      (6) Did you receive a hearing where evidence was given on your petition, application, or motion?

                        ’ Yes        ’ No

                      (7) Result:

                      (8) Date of result (if you know):

          (d) Did you appeal to the highest state court having jurisdiction over the action taken on your petition, application,

          or motion?

                      (1) First petition:     ’ Yes        ’    No

                      (2) Second petition:    ’ Yes        ’    No

                      (3) Third petition:     ’ Yes        ’    No

          (e) If you did not appeal to the highest state court having jurisdiction, explain why you did not:




12.       For this petition, state every ground on which you claim that you are being held in violation of the Constitution,
          laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the facts
          supporting each ground. Any legal arguments must be submitted in a separate memorandum.

          CAUTION: To proceed in the federal court, you must ordinarily first exhaust (use up) your available
          state-court remedies on each ground on which you request action by the federal court. Also, if you fail to set
          forth all the grounds in this petition, you may be barred from presenting additional grounds at a later date.

GROUND ONE: State agents coerced the minor complaining witness to testify falsely.



(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

Four state agents, including the prosecutor, coerced the minor complaining witness to testify falsely at the

preliminary hearing, and the State used that testimony to convict Zilm at trial.




(b) If you did not exhaust your state remedies on Ground One, explain why:        N/A




                                                                                                                         Page 6 of 16
Case 4:20-cv-00509-CVE-JFJ Document 2 Filed in USDC ND/OK on 10/06/20 Page 6 of 35

AO 241 (Rev. 09/17)

(c)       Direct Appeal of Ground One:

          (1) If you appealed from the judgment of conviction, did you raise this issue?            ✔
                                                                                                    ’ Yes           ’ No

          (2) If you did not raise this issue in your direct appeal, explain why:




(d) Post-Conviction Proceedings:

          (1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?

                      ’ Yes       ’ No

          (2) If your answer to Question (d)(1) is "Yes," state:

          Type of motion or petition:

          Name and location of the court where the motion or petition was filed:



          Docket or case number (if you know):

          Date of the court's decision:

          Result (attach a copy of the court's opinion or order, if available):




          (3) Did you receive a hearing on your motion or petition?                                 ’    Yes        ’ No

          (4) Did you appeal from the denial of your motion or petition?                            ’    Yes        ’ No

          (5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal?   ’    Yes        ’ No

          (6) If your answer to Question (d)(4) is "Yes," state:

          Name and location of the court where the appeal was filed:



          Docket or case number (if you know):

          Date of the court's decision:

          Result (attach a copy of the court's opinion or order, if available):




          (7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:




                                                                                                                         Page 7 of 16
Case 4:20-cv-00509-CVE-JFJ Document 2 Filed in USDC ND/OK on 10/06/20 Page 7 of 35

AO 241 (Rev. 09/17)

(e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you have

used to exhaust your state remedies on Ground One:




GROUND TWO:                       Prosecutorial misconduct.



(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

The prosecutor threatened defense witnesses with prosecution if they testified; accused defense counsel of
orchestrating evidence of recordings; made improper argument to the jury that Zilm should be punished for

exercising his right to a jury trial; and engaged in courtroom histrionics during closing argument.




(b) If you did not exhaust your state remedies on Ground Two, explain why:          N/A




(c)       Direct Appeal of Ground Two:

          (1) If you appealed from the judgment of conviction, did you raise this issue?             ✔
                                                                                                     ’ Yes          ’ No

          (2) If you did not raise this issue in your direct appeal, explain why:




(d)       Post-Conviction Proceedings:

          (1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?

                      ’ Yes       ’ No

          (2) If your answer to Question (d)(1) is "Yes," state:

          Type of motion or petition:

          Name and location of the court where the motion or petition was filed:




          Docket or case number (if you know):


                                                                                                                         Page 8 of 16
Case 4:20-cv-00509-CVE-JFJ Document 2 Filed in USDC ND/OK on 10/06/20 Page 8 of 35

AO 241 (Rev. 09/17)

          Date of the court's decision:

          Result (attach a copy of the court's opinion or order, if available):




          (3) Did you receive a hearing on your motion or petition?                                  ’     Yes    ’ No

          (4) Did you appeal from the denial of your motion or petition?                             ’     Yes    ’ No

          (5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal?    ’     Yes    ’ No

          (6) If your answer to Question (d)(4) is "Yes," state:

          Name and location of the court where the appeal was filed:



          Docket or case number (if you know):

          Date of the court's decision:

          Result (attach a copy of the court's opinion or order, if available):




          (7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:




(e)       Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you

          have used to exhaust your state remedies on Ground Two :




GROUND THREE:                  Multiple erroneous evidentiary rulings prejudiced Zilm resulting in a fundamentally

unfair trial.
(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

The trial court admitted hearsay statements by K.A. to a neighbor, to a SANE nurse, and admitted K.A.'s

coerced testimony from the first trial.




                                                                                                                        Page 9 of 16
Case 4:20-cv-00509-CVE-JFJ Document 2 Filed in USDC ND/OK on 10/06/20 Page 9 of 35

AO 241 (Rev. 09/17)

(b) If you did not exhaust your state remedies on Ground Three, explain why:        N/A




(c)       Direct Appeal of Ground Three:

          (1) If you appealed from the judgment of conviction, did you raise this issue?            ✔
                                                                                                    ’ Yes           ’ No

          (2) If you did not raise this issue in your direct appeal, explain why:




(d)       Post-Conviction Proceedings:

          (1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?

                      ’ Yes       ’ No

          (2) If your answer to Question (d)(1) is "Yes," state:

          Type of motion or petition:

          Name and location of the court where the motion or petition was filed:



          Docket or case number (if you know):

          Date of the court's decision:

          Result (attach a copy of the court's opinion or order, if available):




          (3) Did you receive a hearing on your motion or petition?                                 ’    Yes        ’ No

          (4) Did you appeal from the denial of your motion or petition?                            ’    Yes        ’ No

          (5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal?   ’    Yes        ’ No

          (6) If your answer to Question (d)(4) is "Yes," state:

          Name and location of the court where the appeal was filed:



          Docket or case number (if you know):

          Date of the court's decision:

          Result (attach a copy of the court's opinion or order, if available):




                                                                                                                        Page 10 of 16
Case 4:20-cv-00509-CVE-JFJ Document 2 Filed in USDC ND/OK on 10/06/20 Page 10 of 35

AO 241 (Rev. 09/17)

          (7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:




(e)       Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you

          have used to exhaust your state remedies on Ground Three:




GROUND FOUR: The trial court erred in refusing to suppress the statement made by Zilm to police.



(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

Zilm was interviewed by police and the trial court admitted his statements at trial over objection.




(b) If you did not exhaust your state remedies on Ground Four, explain why:




(c)       Direct Appeal of Ground Four:

          (1) If you appealed from the judgment of conviction, did you raise this issue?             ✔
                                                                                                     ’ Yes          ’ No

          (2) If you did not raise this issue in your direct appeal, explain why:




(d)       Post-Conviction Proceedings:

          (1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?

                      ’ Yes       ’ No

          (2) If your answer to Question (d)(1) is "Yes," state:

          Type of motion or petition:


                                                                                                                        Page 11 of 16
Case 4:20-cv-00509-CVE-JFJ Document 2 Filed in USDC ND/OK on 10/06/20 Page 11 of 35

AO 241 (Rev. 09/17)

          Name and location of the court where the motion or petition was filed:



          Docket or case number (if you know):

          Date of the court's decision:

          Result (attach a copy of the court's opinion or order, if available):




          (3) Did you receive a hearing on your motion or petition?                                 ’   Yes       ’ No

          (4) Did you appeal from the denial of your motion or petition?                            ’   Yes       ’ No

          (5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal?   ’   Yes       ’ No

          (6) If your answer to Question (d)(4) is "Yes," state:

          Name and location of the court where the appeal was filed:



          Docket or case number (if you know):

          Date of the court's decision:

          Result (attach a copy of the court's opinion or order, if available):




          (7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:




(e)       Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you

          have used to exhaust your state remedies on Ground Four:




                                                                                                                        Page 12 of 16
Case 4:20-cv-00509-CVE-JFJ Document 2 Filed in USDC ND/OK on 10/06/20 Page 12 of 35

AO 241 (Rev. 09/17)

13.       Please answer these additional questions about the petition you are filing:

          (a)         Have all grounds for relief that you have raised in this petition been presented to the highest state court

                      having jurisdiction?    ✔
                                              ’ Yes          ’     No

                      If your answer is "No," state which grounds have not been so presented and give your reason(s) for not

                      presenting them:




          (b)         Is there any ground in this petition that has not been presented in some state or federal court? If so, which

                      ground or grounds have not been presented, and state your reasons for not presenting them:




14.       Have you previously filed any type of petition, application, or motion in a federal court regarding the conviction

          that you challenge in this petition?         ’     Yes        ✔
                                                                        ’ No

          If "Yes," state the name and location of the court, the docket or case number, the type of proceeding, the issues

          raised, the date of the court's decision, and the result for each petition, application, or motion filed. Attach a copy

          of any court opinion or order, if available.




15.       Do you have any petition or appeal now pending (filed and not decided yet) in any court, either state or federal, for

          the judgment you are challenging?            ’     Yes        ✔
                                                                        ’ No

          If "Yes," state the name and location of the court, the docket or case number, the type of proceeding, and the issues

          raised.




                                                                                                                           Page 13 of 16
Case 4:20-cv-00509-CVE-JFJ Document 2 Filed in USDC ND/OK on 10/06/20 Page 13 of 35

AO 241 (Rev. 09/17)

16.       Give the name and address, if you know, of each attorney who represented you in the following stages of the

          judgment you are challenging:

          (a) At preliminary hearing:    Allen M. Smallwood, 1310 S. Denver Ave., Tulsa OK



          (b) At arraignment and plea:    same



          (c) At trial:          same


          (d) At sentencing:   same



          (e) On appeal:        James L. Hankins, 929 N.W. 164th St., Edmond, OK 73013


          (f) In any post-conviction proceeding:



          (g) On appeal from any ruling against you in a post-conviction proceeding:




17.       Do you have any future sentence to serve after you complete the sentence for the judgment that you are

          challenging?            ’ Yes        ✔
                                               ’       No

          (a) If so, give name and location of court that imposed the other sentence you will serve in the future:




          (b) Give the date the other sentence was imposed:

          (c) Give the length of the other sentence:

          (d) Have you filed, or do you plan to file, any petition that challenges the judgment or sentence to be served in the

          future?                 ’ Yes        ’       No

18.       TIMELINESS OF PETITION: If your judgment of conviction became final over one year ago, you must explain

          why the one-year statute of limitations as contained in 28 U.S.C. § 2244(d) does not bar your petition.*

           This Petition is timely.




                                                                                                                       Page 14 of 16
Case 4:20-cv-00509-CVE-JFJ Document 2 Filed in USDC ND/OK on 10/06/20 Page 14 of 35

AO 241 (Rev. 09/17)




* The Antiterrorism and Effective Death Penalty Act of 1996 ("AEDPA") as contained in 28 U.S.C. § 2244(d) provides in

part that:

             (1)      A one-year period of limitation shall apply to an application for a writ of habeas corpus by a person in
                      custody pursuant to the judgment of a State court. The limitation period shall run from the latest of -

                      (A)      the date on which the judgment became final by the conclusion of direct review or the expiration
                               of the time for seeking such review;

                      (B)      the date on which the impediment to filing an application created by State action in violation of
                               the Constitution or laws of the United States is removed, if the applicant was prevented from
                               filing by such state action;

                      (C)      the date on which the constitutional right asserted was initially recognized by the Supreme Court,
                               if the right has been newly recognized by the Supreme Court and made retroactively applicable to
                               cases on collateral review; or

                      (D)      the date on which the factual predicate of the claim or claims presented could have been
                               discovered through the exercise of due diligence.




                                                                                                                          Page 15 of 16
Case 4:20-cv-00509-CVE-JFJ Document 2 Filed in USDC ND/OK on 10/06/20 Page 15 of 35

AO 241 (Rev. 09/17)

          (2)         The time during which a properly filed application for State post-conviction or other collateral review with
                      respect to the pertinent judgment or claim is pending shall not be counted toward any period of limitation
                      under this subsection.

Therefore, petitioner asks that the Court grant the following relief:    Grant a writ of habeas corpus and order Petitioner

released from unlawful confinement.


or any other relief to which petitioner may be entitled.




                                                                     s/ James L. Hankins, OBA #15506
                                                                          Signature of Attorney (if any)




I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct and that this Petition for

Writ of Habeas Corpus was placed in the prison mailing system on                                        (month, date, year).




Executed (signed) on               10/06/2020          (date).




                                                                              Signature of Petitioner

If the person signing is not petitioner, state relationship to petitioner and explain why petitioner is not signing this petition.

Attorney for Petitioner.




                                                                                                                           Page 16 of 16

    Print                       Save As...                                                                                 Reset
Case 4:20-cv-00509-CVE-JFJ Document 2 Filed in USDC ND/OK on 10/06/20 Page 16 of 35




                               ADDITIONAL GROUNDS

   V.    ZILM RECEIVED INEFFECTIVE ASSISTANCE OF COUNSEL IN
         VIOLATION OF THE SIXTH AND FOURTEENTH AMENDMENTS; AND
         ARTICLE II, SECTIONS 7 AND 20 OF THE OKLAHOMA
         CONSTITUTION.

         This claim was raised on direct appeal, and is thus exhausted.

   VI.   THE ACCUMULATION OF ERRORS AT TRIAL RESULTED IN A
         FUNDAMENTALLY UNFAIR ADJUDICATORY PROCEEDING IN
         VIOLATION OF THE RIGHTS OF ZILM UNDER THE FOURTEENTH
         AMENDMENT TO THE UNITED STATES CONSTITUTION.

         This claim was raised on direct appeal, and is thus exhausted.
Case 4:20-cv-00509-CVE-JFJ Document 2 Filed in USDC ND/OK on 10/06/20 Page 17 of 35
Case 4:20-cv-00509-CVE-JFJ Document 2 Filed in USDC ND/OK on 10/06/20 Page 18 of 35
Case 4:20-cv-00509-CVE-JFJ Document 2 Filed in USDC ND/OK on 10/06/20 Page 19 of 35
Case 4:20-cv-00509-CVE-JFJ Document 2 Filed in USDC ND/OK on 10/06/20 Page 20 of 35
Case 4:20-cv-00509-CVE-JFJ Document 2 Filed in USDC ND/OK on 10/06/20 Page 21 of 35
Case 4:20-cv-00509-CVE-JFJ Document 2 Filed in USDC ND/OK on 10/06/20 Page 22 of 35
Case 4:20-cv-00509-CVE-JFJ Document 2 Filed in USDC ND/OK on 10/06/20 Page 23 of 35
Case 4:20-cv-00509-CVE-JFJ Document 2 Filed in USDC ND/OK on 10/06/20 Page 24 of 35
Case 4:20-cv-00509-CVE-JFJ Document 2 Filed in USDC ND/OK on 10/06/20 Page 25 of 35
Case 4:20-cv-00509-CVE-JFJ Document 2 Filed in USDC ND/OK on 10/06/20 Page 26 of 35
Case 4:20-cv-00509-CVE-JFJ Document 2 Filed in USDC ND/OK on 10/06/20 Page 27 of 35
Case 4:20-cv-00509-CVE-JFJ Document 2 Filed in USDC ND/OK on 10/06/20 Page 28 of 35
Case 4:20-cv-00509-CVE-JFJ Document 2 Filed in USDC ND/OK on 10/06/20 Page 29 of 35
Case 4:20-cv-00509-CVE-JFJ Document 2 Filed in USDC ND/OK on 10/06/20 Page 30 of 35
Case 4:20-cv-00509-CVE-JFJ Document 2 Filed in USDC ND/OK on 10/06/20 Page 31 of 35
Case 4:20-cv-00509-CVE-JFJ Document 2 Filed in USDC ND/OK on 10/06/20 Page 32 of 35
Case 4:20-cv-00509-CVE-JFJ Document 2 Filed in USDC ND/OK on 10/06/20 Page 33 of 35
Case 4:20-cv-00509-CVE-JFJ Document 2 Filed in USDC ND/OK on 10/06/20 Page 34 of 35
Case 4:20-cv-00509-CVE-JFJ Document 2 Filed in USDC ND/OK on 10/06/20 Page 35 of 35
